                    Case 23-00014     Doc 44-1    Filed 11/03/23     Page 1 of 21




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF MARYLAND
                                      at Greenbelt

IN RE:

ZACHAIR, LTD.,                                               Case No. 20-10691-LSS

          Debtor.                                            (Chapter 11)


LAWRENCE A. KATZ, Plan Administrator,

          Plaintiff

v.                                                           Adversary Proceeding 23-00014

NABIL J. ASTERBADI, et al.,

          Defendants.



MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
            AS TO MAUREEN ASTERBADI ON COUNT II

          Defendant Maureen Asterbadi (“Mrs. Asterbadi”), through her undersigned counsel,

submits this Memorandum of Law in Support of Motion for Summary Judgment as to Maureen

Asterbadi on Count II.

                            I.      INTRODUCTORY STATEMENT

          Mrs. Asterbadi, although named as a director of Zachair, Ltd. (“Zachair”) 1 from the time

of its incorporation in 1994, never had any role in the decision-making or day-to-day affairs of the




1
      Zachair Ltd. in its pre-bankruptcy non-debtor-in-possession state is referred to herein as
     “Zachair,” and Zachair Ltd. in its post-Petition debtor-in-possession state is referred to as
     “Zachair DIP”.
                  Case 23-00014        Doc 44-1     Filed 11/03/23     Page 2 of 21




business. 2 The Complaint against Mrs. Asterbadi is patently unjust and is the quintessential

example of adding “insult to injury.” It is unjust because Plaintiff is intentionally pursuing her,

despite knowing her virtual lack of involvement with Zachair (and her complete lack of

involvement with Zachair DIP). Plaintiff is aware that Dr. Asterbadi has no resources to pay any

judgment obtained against him (a fact apparently well-known by the professionals even during the

chapter 11). So, the Plaintiff has set his sights on Mrs. Asterbadi and what little (in the overall

context of her life) she has been able to secure for her retirement.

         The insult to injury arises from Zachair DIP’s trainwreck chapter 11, which Mrs. Asterbadi

had nothing to do with. It appears that Zachair DIP became eligible for Subchapter V shortly after

the Petition Date, and had it pursued that path, substantial professional fees would have been

avoided and the proceedings streamlined to some meaningful extent. Regardless of whether it was

Subchapter V eligible, a massive $3 million (plus) price tag for all of the professionals in a case

where the undisputed secured and unsecured debts hover around $6 million is patently excessive.

And, while the undersigned argue that the evidence shows the Property was worth more (at all

times) than the debts in the case, even the artificially depressed price of $7.5 million paid by NVR

in late 2022 (under what appear to be suspect premises), could have paid creditors largely in full.

         Yet, after a year, unsecured creditors have received nothing, and Plaintiff has spent

hundreds of thousands of dollars chasing Mrs. Asterbadi, after her portion of the Property’s equity




2
    Mrs. Asterbadi reserves all rights, including but not limited to the right to file additional
    dispositive motions as to any claims made against her in the Complaint, and to raise and make
    any arguments at a trial on any issues affecting her rights and interests. Mrs. Asterbadi reserves
    all rights, claims and positions set forth in her Amended Answer. Mrs. Asterbadi advises the
    Court that due to her lack of involvement with Zachair and Zachair DIP, undersigned counsel
    has issued various discovery requests, but as of this filing, no party has completely fulfilled all
    of its legal obligations under the applicable discovery laws and rules. Mrs. Asterbadi reserves
    all rights with respect to all pending and future discovery matters and disputes.


                                                   2
                Case 23-00014          Doc 44-1   Filed 11/03/23     Page 3 of 21




was wiped out by the process. Making matters worse, Plaintiff and others (including Whiteford

Taylor and NVR), knowing full well that Mrs. Asterbadi was not involved with Zachair and

Zachair DIP and therefore must rely upon legal counsel to put the pieces of the puzzle together,

fail and refuse to timely (and otherwise) comply with properly-issues discovery and document

subpoenas. This all adds up to an expensive insult, in the extreme, to the already horrific injury

caused to Mrs. Asterbadi, and the Court should take and consider all steps to bring it to an end (as

to her). The Court should grant summary judgment in favor of Mrs. Asterbadi on Court II of the

Complaint for at least four reasons:

       First, Mrs. Asterbadi had nothing to do with the Abandonment Motion. She did not sign,

file, or authorize the filing of the Abandonment Notice. She was not consulted by anyone

regarding the Abandonment Notice and first became aware of it in the context of this adversary

proceeding. She does not understand it and literally had nothing to do with it. As such, she cannot

be held liable for the affirmative tort of filing the Abandonment Notice, assuming for the sake of

argument that a debtor properly availing itself of the Bankruptcy Code’s abandonment

provisions could even constitute a tort. See Part IV.B.1. below.

       Second, the Bankruptcy Resolution granted Mrs. Asterbadi no rights to undertake any

actions in the chapter 11 (or otherwise), including filing the Abandonment Notice, for Zachair

DIP, the newly-created entity as of the Petition Date. She cannot be held liable, in the context

of this case, for actions she had no authority to undertake (which were in fact undertaken by

Whiteford Taylor, presumably with the approval of Dr. Asterbadi). See Part IV.B.2. below.

       Third, as matter of law, a pre bankruptcy director (a) who is not designated by a

bankruptcy resolution to act for or on behalf of the debtor in possession, (b) who is not

designated by the bankruptcy court under Bankruptcy Rule 9001, and (c) who post-petition

never acted for or on behalf of the debtor in possession, cannot, nevertheless be held liable for

                                                  3
                Case 23-00014        Doc 44-1     Filed 11/03/23       Page 4 of 21




breach of fiduciary duty based on affirmative acts taken by a separate director (i.e., the one

authorized bythe bankruptcy resolution to act for the debtor in possession), based upon the

paid-for analysis and advice of chapter 11 counsel. See Part IV.B. below.

       Fourth, Zachair DIP’s intent to waive and abandon the Avoidance Actions (and its

action plan for doing so) was one of the most widely published events, and was included in every

version of the disclosure statement and plan filed in the chapter 11 case, including those

approved by the Court. More than 90% of the total debt in the case was concentrated in the

hands of the Big Five creditors, two of which were law firms, and all of which were

represented by sophisticated bankruptcy counsel. The deadlines for objecting to the

disclosure statement, plan and Abandonment Notice, each of which waived or abandoned

the Avoidance Actions, without any objections by any creditors to such waiver and

abandonment. The bankruptcy estate and creditor body waived their rights, if any, to recover

from the Avoidance Actions, and the Plaintiff should not be permitted to backdoor the process

in order to try to get a second bite at them. See Part IV. B. below.




                                                 4
                 Case 23-00014        Doc 44-1     Filed 11/03/23     Page 5 of 21




                                     II.     BACKGROUND 3

         A.     Zachair DIP’s Bankruptcy Filing and Bankruptcy Resolution

         On January 17, 2020 (the “Petition Date”), Zachair, Ltd. filed a voluntary Chapter 11

bankruptcy petition (the “Petition”) with the Court. 4 See Main Case Docket Entry (“MCDE”) 1.

The Petition was signed by Dr. Nabil Asterbadi as President and Bradford Englander (an attorney

with Whiteford, Taylor & Preston, L.L.P. (“Whiteford Taylor”)) as bankruptcy counsel. 5 Id.

Upon filing the Petition, Zachair, Ltd. became a new entity called a debtor-in-possession. See, e.g.,




3
  While these background facts are believed to be undisputed, they are included for context, and
  are not essential for the resolution of the legal question presented in Mrs. Asterbadi’s Summary
  Judgment Motion. Mrs. Asterbadi was (prior to commencement of this litigation), and remains,
  unaware of the vast majority of the facts set forth in the background section, and has relied upon
  undersigned counsel to cull the record in order to provide the Court with the context within
  which Plaintiff commenced this adversary proceeding.
4
  The Petition checked “none of the above” to describe Zachair DIP’s business and filled in the
  NAICS query with “4812” which is for debtors engaged in the business of “non scheduled air
  transportation.” See https://www.naics.com/six-digit-naics/?v=2022&code=48-49
    Notably in light of the disputed debts in the case, it appears that Zachair DIP became eligible
    for Subchapter V relief on March 27, 2020, when the debt limit for streamlined Subchapter V
    relief was increased to $7.5 million in undisputed, non-contingent, liquidated debts under the
    Coronavirus Aid, Relief, and Economic Security (CARES) Act. See MCDE 88-2 (Claim
    Summary for Zachair DOP) (after excluding the $5,617,818 disputed claim of PD Hyde, Zachair
    DIP had total undisputed debts of $3,074,219.75, well below the $7.5 million Subchapter V
    limit). Proceeding under Subchapter V would, for example, have eliminated the costly disclosure
    statement requirement, and the absolute priority rule. Whiteford Taylor’s fees for the half-dozen
    or more versions of the disclosure statement and plan exceeded $375,000. See MCDE 268 at 13,
    MCDE 425 at 16. Proceeding under Subchapter V would have substantially reduced the overall
    $3 million in professional fees incurred in the case, thereby freeing up funds to pay at least
    something to the approximately $3.5 million in allowed unsecured claims. Whiteford Taylor’s
    First Fee Application reveals that they considered conversion to Subchapter V, though their time
    entries do not indicate why or even whether they made a recommendation (one way or the other)
    to Zachair DIP and Dr. Asterbadi (who has no recollection of any correspondence or
    conversations with Whiteford Taylor on the matter).
5
    Nabil Asterbadi is a retired medical doctor. His primary practice was as an OB/GYN, and he
    spent virtually his entire medical career caring for mothers and delivering babies at Columbia
    Hospital for Women in Washington, D.C. Dr. Asterbadi is not a lawyer and has no legal training,
    nor does he have any formal training other than in medicine.


                                                  5
                  Case 23-00014       Doc 44-1       Filed 11/03/23     Page 6 of 21




Operating Guidelines and Reporting Requirements of the United States Trustee for Chapter 11

Debtors-In-Possession and Chapter 11 Trustees, District of Maryland, at 1.

         On January 13, 2020, prior to the Petition Date, Dr. Asterbadi and Mrs. Asterbadi adopted

and signed the Certificate of Corporate Resolution (prepared by Whiteford Taylor), that is attached

to the Petition (the “Bankruptcy Resolution”). See MCDE 1, PDF pages 23-24. The Bankruptcy

Resolution, in relevant part, resolved as follows:

         RESOLVED, Nabil Asterbadi (the “Designated Representative”) be, and hereby is,
         authorized and empowered, in the name of the Company, to execute and verify a
         petition for relief under chapter 11 of the Bankruptcy Code and to cause the same
         to be filed with the Bankruptcy Court at such time as the Designated Representative
         shall determine; [and]

         RESOLVED, that the Designated Representative, and such other agent(s) as the
         Designated Representative and/or Board of Directors of the Company shall from
         time to time designate (each a “Representative”), be, and each of them hereby is,
         authorized to execute and file on behalf of the Company all petitions, schedules,
         lists, documents, pleadings, and other papers and to take any and all action that they
         may deem necessary or proper in connection with the bankruptcy case and the
         Company[.]

At no time was Mrs. Asterbadi appointed as either a Designated Representative or a Representative

of Zachair DIP.

         B.     Claims and Creditors of Zachair DIP

         In 2020, Zachair DIP had a sum total of five (5) creditors (the “Big Five”) asserting claims

of $100,000 or more.

    Creditor                                             Amount            Status
    PD Hyde Field, LLC                                   $5,617,818 6      unsecured – contingent,
                                                                           unliquidated disputed

    Sandy Spring Bank                                    $2,392,410.30     over secured




6
    The PD Hyde claim was eventually allowed at $3.2 million. See e.g. [Sept 22 DS]


                                                   6
                 Case 23-00014        Doc 44-1     Filed 11/03/23      Page 7 of 21




    Womble Bond Dickerson (“Womble”) (law $172,414.47                       unsecured
    firm)

    Meyers, Rodbell &            Rosenbaum,       P.A. $110,736.66          unsecured
    (“Meyers”) (law firm)
    TD Auto Finance                                      $103,108.77        over secured

    Total (Big Five)                                     $8,396,488.20 7


Each of the Big Five creditors (two of which are law firms) was represented during the entire case

by competent and sophisticated bankruptcy counsel. See MCDE 7 (Shulman Rodgers for PD

Hyde), 10 (Meyers for itself), 14 (Womble for itself), 19 (Henry & O’Donnell, P.C., for Sandy

Spring Bank), 40 (Evans for TD Auto). The balance of the claims in the case (some of which were

over secured), with fewer than a dozen holders, totaled less than $250,000.

        C.     Abandonment of the Avoidance Actions

        On December 22, 2021, shortly before the two-year anniversary of the Petition Date,

Zachair DIP, through and on the advice of Whiteford Taylor, 8 filed the Notice of Abandonment of

Avoidance Actions (the “Abandonment Notice”). See MCDE 301. Without citing or specifying



7
  The Big Five total reduces to approximately $6 million (still well below the Subchapter V
  threshold) when PD Hyde’s claim is set at $3.2 million. But for $3 million in professional fees,
  all claims int the case would have been paid in full (or nearly so) even at the artificially depressed
  price of $7.5 million ultimately paid by NVR.
8
  Whiteford Taylor billed fees of at least $37,878.50 under Matter Code 106: “Investigations,
  Avoidance Actions, and Affirmative Claims.” See MCDE 425 at 16. Whiteford’s complete
  narrative reads “Description: This matter category includes time spent by WTP attorneys
  providing services relating to investigating potential avoidance actions of the Debtor; advising
  the Debtor regarding potential avoidance actions; and preparing and filing a notice of
  abandonment of avoidance actions.” Id. at 18. Time slips for counsel’s services are located at
  MCDE 425-1 pages 61-65. The record is clear that upon advice of Whiteford Taylor, Zachair
  DIP’s decision to waive the Avoidance Actions occurred prior to the first version of the
  Disclosure Statement being filed on June 28, 2021. See MCDE 224 at 21; MCDE 225 at 28. We
  note that Whiteford was analyzing the Avoidance Actions at the same time. See, e.g., First
  Whiteford Taylor Fee Application, June 27, 2021. MCDE 268-1, page 189 (“PREPARE
  ANALYSIS OF POTENTIAL AVOIDANCE ACTIONS”).


                                                   7
                  Case 23-00014       Doc 44-1     Filed 11/03/23     Page 8 of 21




any facts to support her involvement with the matter, Plaintiff sues Mrs. Asterbadi in Count II for

filing the Abandonment Notice. Plaintiff contends that because Mrs. Asterbadi knew or should

have known, as of December 22, 2021, that the Property would not sell for a price sufficient to pay

creditors in full, she violated her fiduciary duty by filing the Abandonment Notice.

         To understand how distorted and out of context Plaintiff’s Count II really is, and regardless

of Mrs. Asterbadi’s having nothing to do with the preparation and filing of the Abandonment

Notice, one need only read the text of the notice itself. First, Paragraph 2 states that the Court-

approved Disclosure Statement (cited as Docket No. 246) and proposed Plan (cited as Docket No.

245) expressly provide for a full waiver of all Avoidance Actions, 9 and Paragraphs 3 and 4 quote

the Avoidance Action claim waiver language from the approved Disclosure Statement and

proposed Plan. Then, Paragraph 5 states that “The deadline to object to confirmation of the Plan

was November 16, 2021. See Docket No. 236. No objections were filed.” Neither the Big Five

creditors (all represented by sophisticated bankruptcy counsel), the United States Trustee, nor

anyone else ever objected to such waivers as being made in bad faith, contrary to law, or

constituting a breach of fiduciary duty (which would presumably constitute bad faith and a

violation of law). Plainly, all potential objections to Zachair DIP’s proposed abandonment of the

Avoidance Actions were waived as a matter of law by all creditors and parties in interest.

         Second, Paragraph 2 states that the Plan is premised upon a sale of the Property pursuant

to a “Sales Contract” with JP Land Holdings, LLC (“JP Land”) that had been approved by order




9
    At least five (5) versions of the Disclosure Statement and at least five (5) versions of the Plan
    are on the Main Case Docket. Every one of them (including the final versions) provided for a
    full waiver of all Avoidance Actions. Even the secured creditor’s proposed plan provided for a
    waiver of the Avoidance Actions. See e.g., June 28, 2021 Disclosure Statement, MCDE 225 at
    28, and June 28, 2021 Plan, MCDE 224 at 21.


                                                  8
                 Case 23-00014       Doc 44-1     Filed 11/03/23      Page 9 of 21




of the Court entered on July 27, 2021 (citing Docket No. 235) (the “First Sale Order”). The

purchase price under the Sales Contract actually approved by the Court was $16 million. See

MCDE 235 (page 25 of 74) (“The total Purchase Price for the Property shall be SIXTEEN

MILLION DOLLARS ($16,000,000), plus the Transfer Tax Savings (as defined below) (the

“Purchase Price”)”. While paragraph 6 of the Abandonment Notice indicates the purchaser sought

and obtained additional time for due diligence, the Notice was silent about the Property being

worth anything less than the $16 million approved by the Court. At that purchase price and as of

the date of the filing of the Abandonment Notice, all creditors ($6.25 million – see above) and

professionals (owed substantially less in December 2021 than the final $3 million in December

2022) would have been paid in full, with several millions of dollars recoverable by Maureen and

Dr. Asterbadi.

       Third, Paragraph 9 states that “The Debtor believes that the Avoidance Actions are of

inconsequential value to the estate. Further, the Debtor believes that the cost and litigation risk of

pursuing the potential Avoidance Actions in this case would be burdensome to the estate relative

to the potential recoveries for the benefit of creditors.” This was written by Whiteford Taylor and

based upon its analysis. Indeed, they spent at least $40,000 analyzing and advising Zachair DIP

on the matter. See supra p.7-8.

       D.        Valuations of the Property Per the Court Record

       Plaintiff’s contention that Mrs. Asterbadi on December 22, 2021, knew or should have

known that the value of the Property was less than the $6.25 million in total debts plus the $3

million in professional fees that would be incurred by December 2022, is at odds with not only the

representations in the Abandonment Notice itself, but the Court’s record, which is (in part) as

follows:




                                                  9
                  Case 23-00014        Doc 44-1      Filed 11/03/23     Page 10 of 21




          •    July 20, 2020: $19,300,00 to $22,100,00 FMV per Expert Report. See MCDE 88-1
               (p. 6 of 98).

          •    July 27, 2021: $16,000,000 per First Sale Order approving sale to JP Land. See
               MCDE 235 (page 25 of 74).

          •    July 1, 2022: $17,000,000 (maximum) and $10 million minimum per Second Sale
               Order conditionally approving sale to NVR. See MCDE 343/343-1 (p. 11 of 56). 10

          •    August 23, 2022: $17,000,000 per Plan Projections prepared and filed by Zachair
               DIP’s legal and financial professionals. See MCDE 360.

Under all scenarios through August 23, 2022 – 20 months after the Abandonment Notice was filed

– all creditors and professionals were projected to get paid in full. That said, as discussed below,

the Court need not actually resolve whether Mrs. Asterbadi knew or believed something different

as of December 22, 2022 in order enter judgment in her favor on Count II.

                             III.    UNDISPUTED MATERIAL FACTS

          Solely for the purposes of this Motion, the facts below are undisputed. Plaintiff will not be

able to submit a declaration (or point to any specific or credible facts) to the contrary.

          1.      Mrs. Asterbadi is 75 years of age. She is not a lawyer, has not received any formal

legal education, and does not understand (and has never understood) how a chapter 11 bankruptcy

proceeding works. This includes not understanding what “abandonment” means or how it works




10
      Approximately 9-10 months after the Abandonment Notice was filed, NVR unexpectedly (at
     least from Dr. Asterbadi’s perspective) reduced its proposed purchase price to a maximum of
     $7.5 million based upon density concerns (meaning how many residential units could be built
     on the Property). Undersigned share two observations with the Court. First, even at the $7.5
     million ultimate sales price (fall 2022), prepetition creditors would be paid in full but for the $3
     million in professional fees. This should be recognized for what it is – an effort to hold Mrs.
     Asterbadi responsible for the decisions of the professionals to shift value away from creditors
     and to themselves, rather than searching for alternative solutions, including Sub Chapter V.
     Second, despite advising the Court about its alleged density concerns in October 2022, NVR
     turned around after the sale and sought density volumes that were more consistent with its July
     1, 2022 offer, as well as the July 20, 2020 Harvey Report.


                                                    10
               Case 23-00014       Doc 44-1     Filed 11/03/23     Page 11 of 21




in a bankruptcy proceeding. Her first exposure to the principle of bankruptcy abandonment was

upon retaining her current counsel in the case. See Declaration of Maureen B. Asterbadi in Support

of Motion for Summary Judgment on Count II (“MBA Dec.”) at ¶¶ 1, 2, 7, 8.

       2.      The January 6, 1994, Articles of Incorporation of Zachair name Mrs. Asterbadi as

a director. MBA Dec. ¶3.

       3.      At no time prior to the Petition Date was Mrs. Asterbadi involved in the day-to-day

affairs and operations of Zachair, nor did she make business or other decisions for Zachair. From

time to time, Mrs. Asterbadi was asked by Dr. Asterbadi to execute certain documents as a director

of Zachair. MBA Dec. ¶¶ 4-5.

       4.      On January 17, 2020, the Petition was filed. At no time during the Zachair DIP

bankruptcy proceeding did the Court designate Mrs. Asterbadi under Federal Bankruptcy Rule

9001 or otherwise.

       5.      Dr. Asterbadi was appointed to act as Zachair DIP’s sole authorized representative

in the Bankruptcy Case. Compl. ¶ 10, 34; see also Bankruptcy Resolution attached to the Petition.

MCDE 1 (pp 23-24).

       6.      The Bankruptcy Resolution did not authorize Mrs. Asterbadi to take any actions in

connection with, for, or on behalf of Zachair DIP. Id.

       7.      At no time after the Petition Date was Mrs. Asterbadi asked by Dr. Asterbadi,

Zachair DIP’s legal counsel, or any other Zachair DIP professional to be involved in the day-to-

day affairs and operations of Zachair DIP (or Zachair), nor did anyone ask her to make business

or other decisions for Zachair DIP (or Zachair). MBA Dec. ¶¶ 7, 11.




                                               11
               Case 23-00014       Doc 44-1     Filed 11/03/23     Page 12 of 21




       8.      At no time after the Petition Date was Mrs. Asterbadi involved in the day-to-day

affairs and operations of Zachair DIP (or Zachair), nor did she ever make any business or other

decisions for Zachair DIP (or Zachair). MBA Dec. ¶¶ 7, 11.

       9.      On December 22, 2021, the Abandonment Notice was filed based upon the

premises and representations made therein. MCDE 301.

       10.     Mrs. Asterbadi was never consulted by Dr. Asterbadi, Zachar DIP’s bankruptcy

counsel, any other counsel, or anyone regarding any of the analyses, premises, assumptions, and/or

representations contained in the Abandonment Notice. MBA Dec. ¶¶ 9-11.

       11.     Before its filing on December 22, 2021, and until receipt of the Complaint in early

2023, Mrs. Asterbadi was unaware that the Abandonment Notice was being prepared and would

be filed and had no conversations or communications with anyone regarding the Abandonment

Notice. MBA Dec. ¶ 9-11.

       12.     While Mrs. Asterbadi acknowledges the existence of the certificate of service

accompanying the Abandonment Notice, she has no recollection of receiving or reading and

understanding the Abandonment Notice when it was filed or at any time thereafter. MBA Dec. ¶

10.

                                     IV.     ARGUMENT

       A.      Standard of Review

       “Summary judgment is appropriate where ‘the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.’” Hamid

v. United States, 247 F. Supp. 3d 131, 134 (D.D.C. 2017) (citation omitted). “Although a court

should draw all inferences from the supporting records submitted by the nonmoving party, the

mere existence of a factual dispute, by itself, is insufficient to bar summary judgment.” Klayman




                                               12
               Case 23-00014          Doc 44-1   Filed 11/03/23     Page 13 of 21




v. Judicial Watch, Inc., 628 F. Supp. 2d 112, 124 (D.D.C. 2009) (citation omitted). “To be material,

the factual assertion must be capable of affecting the substantive outcome of the litigation; to be

genuine, the issue must be supported by sufficient admissible evidence that a reasonable trier-of-

fact could find for the nonmoving party.” Id. (citing Laningham v. U.S. Navy, 813 F.2d 1236, 1242-

43 (D.C. Cir. 1987)). The Court “must determine ‘whether the evidence presents a sufficient

disagreement to require submission to a jury or whether it is so one-sided that one party must

prevail as a matter of law.’” Id. (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 243

(1986)). Under the applicable standard, judgment should be entered on a summary basis for Mrs.

Asterbadi as to Count II inasmuch as the law does not support Plaintiff’s claim and the material

facts are not genuinely in dispute.

       B.      The Court Should Enter Judgement for Mrs. Asterbadi on Count II

       In Count II Plaintiff seeks a judgment against Mrs. Asterbadi for breach of fiduciary duty

as a result of Mrs. Asterbadi’s having allegedly filed the Abandonment Notice. For at least the

following reasons, the Court should grant summary judgment in favor of Mrs. Asterbadi (as to her)

on Court II of the Complaint.

       1.      Mrs. Asterbadi Had Nothing to do With the Abandonment Notice

       There is no genuine dispute that Mrs. Asterbadi did not file (under any definition of the

term “file”) the Abandonment Notice. As such, even assuming for the sake of argument that the

properly noticed and filed Abandonment Notice (the analyses and basis for which Zachair DIP

received more than $40,000 of legal advice on) could constitute a basis for liability (which is




                                                 13
                 Case 23-00014       Doc 44-1      Filed 11/03/23      Page 14 of 21




unlikely, as a matter a law), 11 as a matter of fact, Mrs. Asterbadi did not contribute to the substance

of or the decision to file the Abandonment Notice. Inasmuch as she had literally nothing to do with

the Abandonment Notice, the Court should (a) reject the Complaint’s contentions that Mrs.

Asterbadi filed it and should be liable for having done so, and (b) enter judgment for Mrs.

Asterbadi (as to her) on Count II. This should end the Court’s inquiry on Count II as to Mrs.

Asterbadi.

          2.     Mrs. Asterbadi Had No Authority to File the Abandonment Notice or Take
                 Any Other Action on Behalf of Zachair DIP

          In addition, Mrs. Asterbadi (who pre bankruptcy had never been involved in Zachair’s day-

to-day and other affairs) had no authority to act on behalf of Zachair DIP as the newly created

entity upon the Petition Date. Assuming for the sake of argument that Mrs. Asterbadi had filed the

Abandonment Notice, she would have done so without any legal authority because the Bankruptcy

Resolution provided that the sole decision maker for Zachair DIP was Dr. Asterbadi. Any action

taken by Mrs. Asterbadi outside her legal authority would likely have been brought to the Court’s

attention and determined to be null and void. Thus, the Court should rule in favor of Mrs. Asterbadi

on Count II based upon her lack of legal authority to act on behalf of Zachair DIP.

          3.     The Analysis, Recommendation and Decision by Whiteford Taylor and
                 Zachair DIP to File the Abandonment Notice Cannot be Imputed to Mrs.
                 Asterbadi

          Consistent with the foregoing, undersigned counsel has located no decision where a pre

bankruptcy director (a) who is not designated by a bankruptcy resolution to act for or on behalf of




11
     See e.g., Kingsville Dodge, LLC v. Almy, 2007 WL 2332699 (2007) (finding that directors of a
     closely held business were not liable for breach of fiduciary duty where actions allegedly
     constituting such breach were the result of directors’ reliance upon the expertise of legal
     counsel).


                                                  14
               Case 23-00014        Doc 44-1     Filed 11/03/23      Page 15 of 21




the debtor in possession, (b) who is not designated by the bankruptcy court under Bankruptcy Rule

9001, and (c) who post-petition never acted for or on behalf of the debtor in possession, was

nevertheless held liable for breach of fiduciary duty based on affirmative acts taken by a separate

director (i.e., the one authorized by the bankruptcy resolution to act for the debtor in possession),

based upon the paid-for analysis and advice of chapter 11 counsel. In other words, we could not

find legal authority to support the proposition that the actions taken by Dr. Asterbadi (based on the

authority of the Bankruptcy Resolution and the analysis and advice of Whiteford Taylor), was

sufficient to render Mrs. Asterbadi liable where she had no authority under the Bankruptcy

Resolution to do so, and as a matter of fact, took no such action.

       The closest authority we could locate is, sensibly, to the contrary. The court in American

Savings & Loan Assn. v. Weber, 99 B.R. 1001 (Bankr. D. Utah 1989) addressed the alleged misuse

of cash collateral by Jack and Sharon Weber during the chapter 11 of Weber Trucking, Inc. While

both Jack and Sharon Weber were directors and officers of the corporate debtor (“Weber

Trucking DIP”), Mr. Weber (a) was aware of and violated the limitations on use by Weber

Trucking DIP of its cash collateral, (b) attended Weber Trucking DIP’s Section 341 meeting, (c)

signed Weber Trucking DIP’s disclosure statement, (d) ran the day to day operational and other

activities of Weber Trucking DIP, and (e) otherwise solely made the business decisions for Weber

Trucking DIP. Mrs. Weber, in contrast, was not involved in these matters for Weber Trucking DIP,

and “her actual involvement was clerical and under the exclusive supervision of Jack Weber.” 99

B.R. at 1018. As such, the Court did not hold Mrs. Weber responsible for the affirmative actions

taken by Mr. Weber in the Weber Trucking DIP chapter 11 proceeding.

       In contrast to Mrs. Weber, who was actively involved with Weber Trucking albeit on

clerical matters, Mrs. Asterbadi performed no services for and undertook no activities in




                                                 15
                  Case 23-00014        Doc 44-1     Filed 11/03/23     Page 16 of 21




connection with or on behalf of Zachair DIP. Like Mrs. Weber, however, Mrs. Asterbadi did not

attend Zachair DIP’s 341 meeting, nor did she sign or have anything to do with any of the pleadings

and papers filed in the Zachair DIP chapter 11 proceeding, most notably the Notice of

Abandonment. Thus, even if the Complaint in this case stated that Mrs. Asterbadi (as a non-actor)

should be held liable for the affirmative actions taken by Dr. Asterbadi for and on behalf of Zachair

DIP, which it plainly does not, following the Weber Truck reasoning would lead to the conclusion

(based upon the undisputed facts) that Mrs. Asterbadi should not be held responsible for Dr.

Asterbadi’s role in Zachair DIP’s filing of the Abandonment Notice. Based on this analysis the

Court should grant summary judgment in favor of Mrs. Asterbadi (as to Mrs. Asterbadi) on Count

II.

          4.      Equity Requires that Count II not be Used as an End Round the Proper
                  Waiver and Abandonment of the Avoidance Actions Which Were Approved
                  by Creditors

          Creditors and parties in interest knowingly waived the alleged value of the Avoidance

Actions. 12 The estate’s decision to waive the Avoidance Actions was contained in the first

Disclosure Statement, [MCDE 225], and approved by the Court before the Abandonment Notice

was filed. Every version of the Disclosure Statement and Plan provided for the waiver of the

Avoidance Actions. For nearly 18 months, the estate’s waiver of the Avoidance Actions was one

of the most widely published items in the entire chapter 11. Despite dozens of opportunities to do




12
     As previously indicated Whiteford Taylor undertook extensive and costly analyses of the
     Avoidance Actions. See MCDE 2268-1 at 189, MCDE 425 at 16, and MCDE 425-1, at 61-65.
     This was the basis for their statements in paragraph 9 of the Abandonment Notice that they “are
     of inconsequential value to the estate,” and that the “cost and litigation risk . . . would be
     burdensome to the estate . . .” MCDE 301 at p. 4. In contrast, there is no evidence that Plaintiff
     has undertaken any different or better analysis that would lead him to results different than those
     reached by Whiteford Taylor.


                                                    16
               Case 23-00014        Doc 44-1     Filed 11/03/23     Page 17 of 21




so, not one single creditor objected. Indeed, Sandy Spring Bank, Zachair DIP’s largest secured and

largest undisputed creditor, filed a competing disclosure statement and plan that provided for a

waiver of the Avoidance Actions. See MCDEs 336-337. Under all of the circumstances, it would

be inequitable and wrong to allow Plaintiff to obtain a “back door” recovery of the very Avoidance

Actions that the estate, through a lengthy and well-publicized process (including via the Disclosure

Statements approved by the Court), waived and abandoned and that creditors knowingly accepted.

                                     V.      CONCLUSION

       For the foregoing reasons, Defendant Maureen Asterbadi respectfully requests that the

Court grant summary judgment by entering judgment in favor of Mrs. Asterbadi and against

Plaintiff Lawrence Katz on Count II (as to Mrs. Asterbadi only).



 Dated: November 3, 2023
                                                  Respectfully submitted,

                                                  /s/ Patrick Potter
                                                  Patrick Potter (D. Md. Bar No. 08445)
                                                  Cynthia Cook Robertson (D. Md. Bar No. 18083)
                                                  Meaghan Murphy (D. Md. Bar No. 20697)
                                                  PILLSBURY WINTHROP SHAW PITTMAN LLP
                                                  1200 Seventeenth Street NW
                                                  Washington, DC 20036
                                                  Telephone: 202-663-8000
                                                  Fax: 202-663-8007
                                                  patrick.potter@pillsburylaw.com
                                                  cynthia.robertson@pillsburylaw.com

                                                  Attorneys for Defendant Maureen Asterbadi




                                                17
               Case 23-00014        Doc 44-1   Filed 11/03/23     Page 18 of 21




                                CERTIFICATE OF SERVICE

       I hereby certify that on this 3rd day of November 2023, the foregoing Motion for Summary

Judgment and the accompanying Memorandum of Law, Exhibits (if any), Declaration, and

proposed Order were served by electronic filing the following counsel of record through the

Court’s electronic filing system:

       Lawrence A. Katz
       Kristen E. Burgers
       Robert R. Vieth
       Mihir Elchuri
       HIRSCHLER FLEISCHER
       1676 International Drive, Suite 1350
       Tysons, Virginia 22102
       Telephone: (703) 584-8900
       Facsimile: (703) 584-8901
       Email: lkatz@hirschlerlaw.com
              kburgers@hirschlerlaw.com
              rvieth@hirschlerlaw.com
              melchuri@hirschlerlaw.com

       Steven L. Goldberg
       MCNAMEE HOSEA P.A.
       6411 Ivy Ln Suite 200
       Greenbelt, MD 20770
       Telephone: (301) 441-2420
       Email: sgoldberg@mhlawyers.com




                                                    /s/Patrick J. Potter
                                                    Patrick J. Potter




                                               18
               Case 23-00014      Doc 44-1     Filed 11/03/23     Page 19 of 21




                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF MARYLAND
                                   at Greenbelt

IN RE:

ZACHAIR, LTD.,                                            Case No. 20-10691-LSS

       Debtor.                                            (Chapter 11)


LAWRENCE A. KATZ, Plan Administrator,

       Plaintiff
                                                          Adversary Proceeding 23-00014
v.
                                                          Jury Trial Demanded
NABIL J. ASTERBADI

and

MAUREEN ASTERBADI

              Defendants.




             ORDER GRANTING MOTION FOR SUMMARY JUDGMENT
              AS TO COUNT II IN FAVOR OF MAUREEN ASTERBADI

       Upon consideration of Defendant Maureen Asterbadi’s Motion for Summary Judgment as

to Count II, any opposition thereto, Mrs. Asterbadi’s Reply, and all supporting documents and the
               Case 23-00014       Doc 44-1     Filed 11/03/23     Page 20 of 21




record as a whole, it is, by the United States Bankruptcy Court for the District of Maryland hereby

ORDERED, that:

           1. Defendant Maureen Asterbadi’s Motion is GRANTED; and it is further

           2. Count II of Plaintiff’s Complaint is DENIED WITH PREJUDICE AS TO MRS.

               ASTERBADI, AND THEREFORE DISMISSED AS TO HER.

cc:    Patrick J. Potter
       Pillsbury Winthrop Shaw Pittman LLP
       1200 Seventeenth Street, NW
       Washington, DC 20036
       Telephone: 202.663.8928
       Email: patrick.potter@pillsburylaw.com

       Cynthia Cook Robertson
       Pillsbury Winthrop Shaw Pittman LLP
       1200 Seventeenth Street, NW
       Washington, DC 20036
       Telephone: (202) 663-9256
       Email: cynthia.robertson@pillsburylaw.com

       Lawrence A. Katz
       HIRSCHLER FLEISCHER, P.C.
       1676 International Drive, Suite 1350
       Tysons, Virginia 22102
       Telephone: (703) 584-8900
       Email: lkatz@hirschlerlaw.com

       Kristen E. Burgers
       HIRSCHLER FLEISCHER, P.C.
       1676 International Drive, Suite 1350
       Tysons, Virginia 22102
       Telephone: (703) 584-8900
       Email: kburgers@hirschlerlaw.com

       Steven L. Goldberg
       MCNAMEE HOSEA P.A.
       6411 Ivy Ln Suite 200
       Greenbelt, MD 20770
       Telephone: (301) 441-2420
       Email: sgoldberg@mhlawyers.com




                                                20
       Case 23-00014       Doc 44-1   Filed 11/03/23   Page 21 of 21




Office of the United States Trustee
6305 Ivy Lane, Suite 600
Greenbelt, MD 20770


                               END OF ORDER




                                      21
